                 Case 1:15-cv-00662-TSE DocumentReset Form
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                           APPEAL TRANSMITTAL SHEET (non-death penalty)
 Transmittal to 4CCA of notice of District: USDC Maryland           District Case No.:
 appeal filed: 02/19/20
                                                                                         15-662-TSE
 ___ First NOA in Case                     Division:     Baltimore                       4CCA No(s). for any prior NOA:
 ✔ Subsequent NOA-same party
 ___                                                                                      15-02560
 ___ Subsequent NOA-new party              Caption:                                      4CCA Case Manager:
 ___ Subsequent NOA-cross appeal           Wikimedia Foundation et al

 ___ Paper ROA      ___ Paper Supp.        v.                                              RJ Warren
         Volumes
  Vols: _______________________
                                           National Security Agency/Central Sec
 Other: _______________________
 Exceptional Circumstances: ___ Bail ___ Interlocutory ___ Recalcitrant Witness              ___ Other __________________________
 Confinement-Criminal Case:                Fee Status:
 ___ Death row-use DP Transmittal          ___ No fee required (USA appeal)          ✔ Appeal fees paid in full
                                                                                    ___                              ___ Fee not paid
 ___ Recalcitrant witness
                                           Criminal Cases:
 ___ In custody
                                           ___ District court granted & did not revoke CJA status (continues on appeal)
 ___ On bond
 ___ On probation                          ___ District court granted CJA & later revoked status (must pay fee or apply to 4CCA)
 Defendant Address-Criminal Case:          ___ District court never granted CJA status (must pay fee or apply to 4CCA)
                                           Civil, Habeas & 2255 Cases:
                                           ___ Court granted & did not revoke IFP status (continues on appeal)
                                           ___ Court granted IFP & later revoked status (must pay fee or apply to 4CCA)
                                            ✔ Court never granted IFP status (must pay fee or apply to 4CCA)
                                           ___
 District Judge:                           PLRA Cases:

  Judge T. NA S. Ellis                     ___ Proceeded PLRA in district court, no 3-strike determination (must apply to 4CCA)
                                           ___ Proceeded PLRA in district court, determined to be 3-striker (must apply to 4CCA)
 Court Reporter (list all):
 Michael A. Rodriquez                      Sealed Status (check all that apply):
                                           ____ Portions of record under seal
                                           ____ Entire record under seal
                                           ____ Party names under seal
                                           ____ Docket under seal
 Coordinator:
 Record Status for Pro Se Appeals (check any applicable):              Record Status for Counseled Appeals (check any applicable):
 ___ Assembled electronic record transmitted                            ✔ Assembled electronic record available if requested
                                                                       ___
 ___ Additional sealed record emailed to 4cca-filing                   ___ Additional sealed record available if requested
 ___ Paper record or supplement shipped to 4CCA                        ___ Paper record or supplement available if requested
 ___ No in-court hearings held                                         ___ No in-court hearings held
 ___ In-court hearings held – all transcript on file                   ✔ In-court hearings held – all transcript on file
                                                                       ___
 ___ In-court hearings held – all transcript not on file               ___ In-court hearings held – all transcript not on file
 ___ Other:                                                            ___ Other:



              Jeanna Bruce
Deputy Clerk: ______________________       410-962-2600
                                     Phone:___________________                            02/19/20
                                                                                    Date:_________________

01/2012
